                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,                        Case No. 22-CR-00221-HFS

                                Plaintiff,        COUNT ONE
                                                  18 U.S.C § 371
        v.                                        NMT Five Years Imprisonment
                                                  NMT $250,000 Fine
 OLUWATOBI ALABI YEROKUN,                         NMT Three Years Supervised Release
 [DOB 8/05/1985]                                  Restitution may be ordered
                                                  Class D Felony
                               Defendant.
                                                  $100 Mandatory Special Assessment

                                   I N FO R MAT I O N
                                 Introduction and Background
                               Defendant Oluwatobi Alabi Yerokun

       1.      From on or about February 2019 through April 2021, defendant Oluwatobi Alabi

Yerokun was a physician who practiced medicine, among other places, in the State of Missouri.

                                      The Medicare Program

       2.      The Medicare Program (Medicare) was a federally-funded program that provided

free or below-cost health care benefits to certain people, primarily the elderly, blind, and

disabled. The benefits available under Medicare were governed by federal statutes and

regulations. The United States Department of Health and Human Services (HHS), through its

agency, the Centers for Medicare and Medicaid Services (CMS), oversaw and administered

Medicare. Individuals who received Medicare benefits were commonly referred to as Medicare

“beneficiaries.”

       3.      Medicare was a “health care benefit program” as defined by 18 U.S.C. § 24(b)

and a “Federal health care program” as set forth in 42 U.S.C. § 1320a-7b(b).

       4.      Various Medicare program parts covered different types of benefits. Medicare
Part B was a medical insurance program that covered, among other things, medical services

provided by physicians, medical clinics, laboratories, and other qualified health care providers.

These services included office visits, minor surgical procedures, and laboratory testing that were

medically necessary and ordered by licensed medical doctors or other qualified health care

providers.

       5.         A Medicare claim was required to include certain important information such as:

(a) the Medicare beneficiary’s name and Health Insurance Claim Number (HICN) or Medicare

Beneficiary ID (MBI); (b) a description of the health care benefit, item, or service that was

provided or supplied to the beneficiary; (c) the billing codes for the benefit, item, or services; (d)

the date upon which the benefit, item, or service was provided or supplied to the beneficiary; and

(e) the name of the referring physician or other health care provider, as well as the unique

identifying number, known as either the Unique Physician Identification Number (UPIN) or

National Provider Identifier (NPI). The claim form could be submitted in hard copy or

electronically.

       6.         CMS acted through fiscal agents called Medicare administrative contractors

(MACs) that were statutory agents for Medicare Part B. The MACs were private entities that

reviewed claims and made payments to providers for services rendered to Medicare

beneficiaries. The MACs were responsible for processing Medicare claims arising within their

assigned geographical area, including determining whether the claim was for a covered service.

       7.         Medicare regulations governing Part B (such as physician services) exclude from

coverage “any services that are not reasonable and necessary for the diagnosis or treatment of

illness or injury or to improve the functioning of a malformed body member.” 42 C.F.R.

§ 411.15(k)(1).




                                                  2
       8.      Medicare regulations require that all diagnostic laboratory tests, which include

genetic tests, “must be ordered by the physician who is treating the beneficiary, that is, the

physician provides a consultation or treats a beneficiary for a specific medical problem and who

uses the results in the management of the beneficiary’s specific medical problem.” 42 C.F.R.

§ 410.32(a). They further provide that “[t]ests not ordered by the physician who is treating the

beneficiary are not reasonable and necessary.”

       9.      Medicare did not cover diagnostic testing that was “not reasonable and necessary

for the diagnosis or treatment of illness or injury or to improve the function of a malformed body

member.” 42 U.S.C. § 1395y(a)(1)(A). Except for certain statutory exceptions, Medicare did

not cover “examinations performed for a purpose other than treatment or diagnosis or a specific

illness, symptoms, complaint or injury.” 42 C.F.R. § 411.15(a)(1). The statutory exceptions

that Medicare covered included cancer screening tests such as “screening mammography,

colorectal cancer screening tests, screening pelvic exams, [and] prostate cancer screening tests.”

Id.

                                 The Missouri Medicaid Program

       10.     MO HealthNet administers the Missouri Medicaid Program, which is jointly

funded by the State of Missouri and the federal government. Missouri Medicaid reimburses

health care providers for covered services rendered to eligible Medicaid recipients. Individuals

who received Medicaid benefits were commonly referred to as Medicaid “beneficiaries.”

       11.     Medicaid was a “health care benefit program” as defined by 18 U.S.C. § 24(b)

and a “Federal health care program” as set forth in 42 U.S.C. § 1320a-7b(b).

       12.     A Medicaid provider must enter into a written agreement with MO HealthNet to

receive reimbursement for medical services to Medicaid recipients and must agree to abide by




                                                  3
Mo HealthNet rules and regulations in rendering and billing for services.

        13.     Medicaid providers are required to submit claims electronically. Per Medicaid

regulations, the Medicaid provider agrees that services described on the electronic claim are true,

accurate, and complete, and the provider certifies that the services described on the claim were

personally rendered by the provider. The provider’s medical record documentation must

support the medical necessity of the service being provided. 13 Mo. C.S.R. 70-3.160.

Medicaid regulations also state that:

                Any person, with intent to defraud or deceive, makes, causes to be
                made, or assists in the preparation of any false statement,
                misrepresentation, or omission of material fact in any claim or
                application for any claim, regardless of amount, knowing the same
                to be false, is subject to civil or criminal sanctions, or both, under
                all applicable state and federal statutes.”

Id.

              Defendant Yerokun’s Obligations as a Medicare and Medicaid Provider

        14.     On multiple occasions between 2015 and 2018, defendant Yerokun signed an

enrollment application with Medicare which stated:

                I agree to abide by the Medicare laws, regulations and program
                instructions that apply to me . . . . The Medicare laws, regulations
                and program instructions are available through the Medicare
                Administrative Contractor. I understand that payment of a claim
                by Medicare is conditioned upon the claim and the underlying
                transaction complying with such laws, regulations and program
                instructions (including, but not limited to, the Federal Anti-
                Kickback Statute . . .).

        15.     In that application, defendant Yerokun also signed and agreed that he “will

not knowingly present or cause to be presented a false or fraudulent claim for payment by

Medicare and will not submit claims with deliberate indifference or reckless disregard of

their truth or falsity.”




                                                  4
       16.     On or about July 18, 2018, defendant Yerokun electronically signed the

certification statement on his Medicare application to provide medical services and bill

Medicare in the State of Missouri.

       17.     On or about June 1, 2018, defendant Yerokun enrolled in the Missouri

Medicaid program (known as Mo HealthNet).          He signed a Missouri Medicaid provider

agreement stating that he was “responsible for all services provided and all billing done

under my provider number regardless to whom reimbursement is paid.” He agreed to

comply with “the Medicaid manual, bulletins, rules, and regulations as required by the

[Division of Social Services/Medicaid Audit and Compliance] and the United States

Department of Health and Human Services in the delivery of services and merchandise

and in submitting claims for payment.”

       18.     Defendant Yerokun, in his Medicaid application, stated that he understood

that he was required to make and maintain records “which fully demonstrate the extent,

nature and medical necessity of services and items provided to recipients, which support

the fee charged or payment sought for the services and items.”

       19.     Defendant Yerokun, in his Medicaid application, also stated: “I

understand that even though I do not bill Medicaid, if I order, prescribe, or refer for

Medicaid services this agreement pertains to me as a provider.”

  The Requirements to Establish a Physician-Patient Relationship under Missouri Law

       20.     Defendant Yerokun practiced medicine in multiple jurisdictions,

including, but not limited to, the State of Missouri.

       21.     Under the laws of the State of Missouri, a physician who uses

telemedicine must ensure that “a properly established physician-patient relationship




                                                  5
exists with the person who received the telemedicine services.” Mo. Rev. Stat.

§ 191.1146(1). This relationship may be established by: (a) “an in-person encounter

through a medical interview and physical examination;” (b) consultation with another

physician or their delegate “who has an established relationship with the patient and an

agreement with the physician to participate in the patient’s care;” or (c) a “telemedicine

encounter, if the standard of care does not require an in-person encounter, and in

accordance with evidence-based standards of practice and telemedicine practice

guidelines that address the clinical and technological aspects of telemedicine.” Id.

       22.     Under the laws of the State of Missouri, a physician-patient relationship

may be established through telemedicine but prior to providing treatment, the physician

must interview the patient, collect or review relevant medical history, and perform an

examination sufficient for the diagnosis and treatment of the patient. Furthermore, under

the laws of the State of Missouri, a questionnaire completed by the patient does not

constitute an acceptable medical interview and examination for the provision of treatment

by telemedicine. Mo. Rev. Stat. § 191.1146(2)(2).

                                   Durable Medical Equipment

       23.     Durable medical equipment (DME) includes equipment and supplies such as off-

the-shelf orthotics; and ankle, knee, back, elbow, wrist, and hand braces.

       24.     A claim for DME submitted to Medicare qualified for reimbursement only if it

was medically necessary for the treatment of the beneficiary’s illness or injury prescribed by a

licensed physician.

                                          Genetic Testing

       25.     Cancer genomic (CGx) testing used DNA sequencing to detect mutations in genes




                                                 6
that could indicate a higher risk of developing certain types of cancer in the future.

Pharmacogenetic (PGx) testing used DNA sequencing to assess how the body’s genetic makeup

would affect its response to certain medications. Both of these tests were generally referred to

as “genetic testing.” Genetic testing was not a method to diagnose whether an individual had a

disease, such as cancer, at the time of the test.

          26.      To conduct genetic testing, a laboratory needed to obtain a DNA sample

(specimen) from the patient. Specimens were typically obtained from the patient’s saliva by

using a cheek swab to collect sufficient cells to provide a genetic profile. The specimen was

then submitted to the laboratory to conduct the genetic tests.

          27.      With respect to genetic testing for Medicare beneficiaries, their DNA specimens

were submitted along with laboratory requisition forms that identified the beneficiary, the

beneficiary’s insurance information, and the specific tests to be performed. In order for the

laboratories to submit claims to Medicare for genetic testing, the tests had to be approved by a

physician or other authorized medical professional who attested to the medical necessity of the

test.

          28.      Because CGx testing did not diagnose cancer, Medicare only covered such tests in

limited circumstances, such as when a beneficiary had cancer and the beneficiary’s treating

physician deemed such testing necessary for the beneficiary’s treatment of that cancer.

Medicare did not CGx testing for beneficiaries who did not have cancer or lacked symptoms of

cancer.

                                          COUNT ONE
                Conspiracy to Make False Statements Regarding Health Care Matters
                                          18 U.S.C. § 371

          29.      All previous paragraphs of this information are realleged and incorporated by




                                                    7
reference as though fully set forth herein.

        30.     From on or about February 2019 through on or about April 2021, the exact dates

being unknown, in the Western Division of the Western District of Missouri and elsewhere,

defendant Oluwatobi Yerokun did knowingly and willfully combine, conspire, confederate, and

agree with others known and unknown, to commit certain offenses against the United States, that

is: To violate 18 U.S.C. § 1035 by, in a matter involving a health care benefit program, in

connection with the delivery of or payment for health care benefits, items, or services, knowingly

and willfully: (a) falsifying, concealing, and covering up by trick, scheme, or device a material

fact; and (b) making a materially false, fictitious, or fraudulent statement and representation, and

making and using any materially false writing or document knowing the same to contain a

materially false, fictitious statement or entry.

                                 Object/Purpose of the Conspiracy

        31.     It was an object and purpose of the conspiracy for defendant Yerokun to

unlawfully enrich himself and others known and unknown by making false and fraudulent

statements and representations, and by signing and certifying false and fraudulent documents

such as patient forms and physician orders.

                               Manner and Means of the Conspiracy

        32.     The manner and means by which defendant Oluwatobi Yerokun and his co-

conspirators sought to accomplish the purpose and objects of the conspiracy included, among

other things:

        33.     From on or about February 2019 to April 2021, defendant Yerokun contracted

with and worked as a telemedicine provider for marketing, physician recruiting, and telemedicine

companies including, but not limited to, Company A. These companies obtained information




                                                   8
about purported “patients,” such as their insurance information. These companies provided this

information to telemedicine providers such as Yerokun.

       34.     These marketing, physician recruitment, and telemedicine companies gave

defendant Yerokun access to electronic portals so that he could receive information about the

patients assigned to him. The information included, among other things, the patient’s

demographic information, the identity of the insurance provider such as Medicare or Medicaid,

and the type of DME or genetic testing that Yerokun was to order for them.

       35.     Much of the patient information that defendant Yerokun received from Company

A was pre-populated, that is, it had been filled in before Yerokun received it. For example, with

respect to genetic testing, the subjective notes, objective notes, and plan and treatment goals

were nearly always identical on the forms he received. For the majority of beneficiaries who

were referred to him for genetic testing, he ordered the comprehensive inherited cancer panel.

       36.     Through the electronic portal that Company A made available to defendant

Yerokun, he electronically signed the patient forms and orders he received from Company A.

Yerokun signed the patient forms and certified that the DME and genetic tests were medically

necessary. For the genetic tests, he also signed a separate letter of medical necessity.

       37.     Defendant Yerokun had no prior doctor-patient relationship with any of the

Medicare or Medicaid beneficiaries, did not see or communicate with them, and did not attempt

in any way to evaluate and determine their medical condition or needs. Before Yerokun signed

the orders, he made no effort to find out how or from whom the patient information was

obtained, who collected the information, the qualifications of any person gathering or providing

the information, or whether the information was accurate and complete. Defendant Yerokun

provided no follow-up care for these patients after he signed the orders for them to receive DME




                                                 9
or genetic testing.

       38.     Yerokun knowingly and willfully made false and fraudulent statements and

documents by certifying medical necessity. The statements and documents were false because,

among other things, Yerokun did not have adequate information to assess medical necessity for

the beneficiaries and to the extent that he had some patient information, he did not review and

consider it in a manner sufficient to assess medical necessity. In addition, he rarely, if ever,

declined to sign any orders. Moreover, for many or most of the patients, less than a minute

elapsed between when he accessed the patient’s information through the electronic portal and

when he signed the order for DME or genetic testing. He knew his false and fraudulent

statements and documents were untrue when he made them.

       39.     Defendant Yerokun’s false statements and representations concerned material

facts because Medicare and Medicaid would not have paid the claims submitted by the DME

companies and testing laboratories if they had known that Yerokun had no physician-patient

relationship with the beneficiaries, did not see or evaluate them, did not exercise independent

medical judgment in signing orders, and spent only seconds to minutes reviewing the patient

information.

       40.     Defendant Yerokun’s contract with Company A provided that he was solely

responsible for complying with all telemedicine laws.

       41.       The orders that defendant Yerokun signed were submitted to DME companies

and clinical testing laboratories, many of whom paid illegal kickbacks to the individuals and

entities who conspired to submit these false claims to Medicare and Medicaid.

       42.     When defendant Yerokun signed DME and genetic testing orders for Medicare

and Medicaid beneficiaries, he knew that that they were covered by Medicare or Medicaid, and




                                                 10
he knew that his orders would be used to submit claims for payments to Medicare and Medicaid.

       43.     As further explained below in paragraphs 49-51, Medicare and Medicaid paid

claims submitted by these DME companies and laboratories for DME and genetic testing that

defendant Yerokun ordered.

       44.     Defendant Yerokun’s orders for DME and genetic testing were not properly

payable and reimbursable by Medicare and Medicaid because they contained false and fraudulent

statements made by Yerokun.

       45.     Defendant Yerokun’s false and fraudulent statements and documents contained in

the orders and certifications that he submitted to Company A were in connection with the

delivery of or payment for healthcare benefits, items, or services.

       46.     Defendant Yerokun signed orders for DME and genetic tests for Medicare and

Medicaid beneficiaries who resided in the Western Division of the Western District of Missouri,

among other places.

       47.     During the time period of the conspiracy, defendant Yerokun signed orders for

DME and genetic testing for Medicare beneficiaries in 30 different states with the highest

concentration of beneficiaries residing in the State of Missouri.

       48.     Company A paid defendant Yerokun approximately $20 for each order for DME

or genetic testing that he signed. Between March 2019 and April 2021, Company A paid

Yerokun $44,860 by electronically depositing funds into a bank account ending in 9742 that he

maintained at Bank of America. During this time period, Yerokun ordered DME and genetic

tests for 2,184 Medicare beneficiaries.

       49.     Between on or around May 2019 to April 2021, the orders for DME that

defendant Yerokun signed for Medicare beneficiaries caused Medicare to be billed $6,211,207




                                                 11
by the DME companies and Medicare to pay those companies $3,094,181.

       50.     Between on around February 2019 to July 2019, the orders for genetic testing that

defendant Yerokun signed for Medicare beneficiaries caused Medicare to be billed $1,248,344

by the laboratories and Medicare to pay the laboratories $371,302.

       51.     Between or around April 2019 to June 2019, the orders for genetic testing that

defendant Yerokun signed for Medicaid beneficiaries caused Medicaid to be billed $2,525,926

by the laboratories and Medicaid to pay the laboratories $524,734.

                                           Overt Acts

       52.     In furtherance of the conspiracy, and to accomplish its object and purpose,

defendant Yerokun and other conspirators, both known and unknown, committed and caused to

be committed, in the Kansas City Division of the Western District of Missouri and elsewhere, the

following overt acts:

       53.     Between on or about May 28, 2019 and June 21, 2019, defendant Yerokun signed

orders for Medicare beneficiary B.C. to receive eleven braces, a type of DME. At the time, B.C.

was 86 years old. Yerokun did not have a physician-patient relationship with B.C., and he never

saw, communicated with, or evaluated her. Yerokun ordered the same two knee orthoses for

each knee within three weeks. B.C. did not use any of the braces and returned six or seven

boxes of them. On June 21, 2019, Yerokun signed orders for braces for both of B.C.’s ankles

and both of her knees. The time that elapsed between when he accessed B.C.’s patient

information and signed the orders for those braces was 18 seconds. DME companies billed

Medicare $4,994 for those braces, and Medicare paid $2,901 for those braces.

       54.     Genetic testing marketers approached Medicare beneficiary A.K. about genetic

testing at a food pantry and offered her free hot dogs. A.K. provided a cheek swab and her




                                               12
Medicare information but never received any test results. She never saw nor communicated

with defendant Yerokun. On June 1, 2019, after Yerokun reviewed A.K.’s patient information

for 38 seconds, he ordered 19 genetic tests for her. Based on the tests that he ordered, the

laboratory billed Medicare $16,350 and Medicare paid $5,818 for those tests.

       55.     On June 1, 2019, defendant Yerokun spent 34 seconds reviewing Medicare

beneficiary E.M.’s patient information and then ordered 15 genetic tests for her. Based on the

tests that he ordered, the laboratory billed Medicare $14,360 and Medicare paid $2,963 for those

tests. Yerokun never saw or communicated with E.M.

       56.     On that same day, June 1, 2019, defendant Yerokun spent 27 seconds reviewing

Medicare beneficiary B.B.’s patient information and ordered 15 genetic tests for her. Based on

the tests that he ordered, the laboratory billed Medicare $14,360 and Medicare paid $3,763 for

those tests. Yerokun never saw or communicated with B.B.

       57.      In approximately October 2019, genetic testing marketers visited Medicaid

beneficiary C.B. at her senior apartment complex. They told her that the tests would be free

because she was covered by Medicaid. She provided the marketers with her Medicaid

information, and they swabbed her cheek and gave her a free back scratcher for participating.

On May 18, 2019, Yerokun spent 51 seconds reviewing her patient information and then ordered

25 genetic tests for her. Based on the tests that he ordered, the laboratory billed Medicaid

$30,533 and Medicaid paid $6,560. Yerokun never saw or communicated with B.B.

       58.     As set forth in the table below, between on or about March 2019 and April 2021,

defendant Yerokun received $44,860.00 from Company A as payment for signing orders for

DME and genetic testing for Medicare beneficiaries.




                                                13
 Date of Deposit              Amount of Deposit
 from Barton to Yerokun       from Barton to Yerokun
 March 2019                      $480.00
 April 2019                      $100.00
 May 2019                        $160.00
 June 2019                     $3,920.00
 July 2019                       $700.00
 August 2019                   $1,820.00
 September 2019                $1,380.00
 October 2019                  $3,840.00
 November 2019                 $3,360.00
 December 2019                 $2,840.00
 January 2020                  $1,820.00
 February 2020                 $1,440.00
 March 2020                    $1,360.00
 April 2020                    $1,260.00
 May 2020                      $2,880.00
 June 2020                     $1,280.00
 July 2020                     $2,020.00
 August 2020                   $3,160.00
 September 2020                $1,580.00
 October 2020                  $5,420.00
 November 2020                 $1,380.00
 December 2020                   $880.00
 January 2021                  $1,060.00
 February 2021                   $220.00
 March 2021                      $180.00
 April 2021                      $320.00
 TOTAL                        $44,860.00

All in violation of 18 U.S.C. § 371.

                                                  Respectfully submitted,

                                                  Teresa A. Moore
                                                  United States Attorney

                                           By     /s/ Lucinda S. Woolery
                                                  Assistant United States Attorney
                                                  Charles Evans Whittaker Courthouse
                                                  400 East Ninth Street, Suite 5510
                                                  Kansas City, Missouri 64106
                                                  Telephone: (816) 426-3122




                                             14
